USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-50 filed 04/03/20 page 1 of 5




      EXHIBIT 14
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-50 filed 04/03/20 page 2 of 5
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-50 filed 04/03/20 page 3 of 5
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-50 filed 04/03/20 page 4 of 5
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-50 filed 04/03/20 page 5 of 5
